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                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: 3M COMBAT ARMS EARPLUG
PRODUCTS LIABILITY LITIGATION                                                          MDL No. 2885



                                       TRANSFER ORDER


        Before the Panel:* Plaintiff in one District of Minnesota action moves under 28 U.S.C. §
1407 to centralize this litigation in the District of Minnesota. In movant’s reply brief, he supports
centralization in the Western District of Missouri, in the alternative. Common defendant 3M
Company and plaintiffs in more than 45 actions and potential tag-along actions support centralization
in the District of Minnesota in the first instance or in the alternative. This litigation currently
consists of eight actions pending in four districts, as listed on Schedule A.1 The Panel also has been
notified of 635 related federal actions filed in 33 districts.2

        All responding parties support centralization, but they do not all agree on the appropriate
transferee district. In addition to the District of Minnesota and the Western District of Missouri,
suggested districts are the Central District of California, the Southern District of California, the
District of District of Columbia, the Northern District of Florida, the Southern District of Florida,
the Middle District of Georgia, the Southern District of Georgia, the Northern District of Illinois, the
Southern District of Indiana, the Eastern District of Louisiana, the District of New Jersey, the Eastern
District of North Carolina, the Eastern District of Pennsylvania, the District of South Carolina, the
Middle District of Tennessee, and the Western District of Texas.3

       On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization will serve the convenience of the parties

       *
                One or more Panel members who could be members of the putative classes in this
litigation have renounced their participation in these classes and have participated in this decision.
       1
               An additional action was included in the motion for centralization, but plaintiff
voluntarily dismissed the action. The District of Minnesota Pulliam action was not included in the
original motion, but is the result of the court’s severance of the Peek action.
       2
                These and any other related actions are potential tag-along actions. See Panel Rules
1.1(h), 7.1, and 7.2.
       3
               Two responses were submitted after the close of briefing and were not considered by
the Panel. See MDL No. 2885, ECF No. 327 (J.P.M.L. Mar. 25, 2018); ECF No. 331 (J.P.M.L. Mar.
26, 2019).
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                                                   -2-

and witnesses and promote the just and efficient conduct of this litigation. All actions involve
common factual questions arising out of allegations that defendants’ Combat Arms earplugs were
defective, causing plaintiffs to develop hearing loss and/or tinnitus. Issues concerning the design,
testing, sale, and marketing of the Combat Arms earplugs are common to all actions. Centralization
will eliminate duplicative discovery; prevent inconsistent pretrial rulings on Daubert issues and other
pretrial matters; and conserve the resources of the parties, their counsel, and the judiciary.4

         After weighing the relevant factors, we select the Northern District of Florida as the
transferee district for this litigation. Centralization in this district allows the Panel to assign this
nationwide litigation to a forum with the necessary judicial resources and expertise to manage this
litigation efficiently and in a manner convenient for the parties and witnesses. Judge M. Casey
Rodgers, to whom we assign these proceedings, is an able jurist with experience in presiding over
a large products liability MDL. We are confident that she will steer these proceedings on a prudent
course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Florida are transferred to the Northern District of Florida, and, with the
consent of that court, assigned to the Honorable M. Casey Rodgers for coordinated or consolidated
pretrial proceedings.


                                         PANEL ON MULTIDISTRICT LITIGATION




                                                         Sarah S. Vance
                                                            Chair

                                        Lewis A. Kaplan                      Ellen Segal Huvelle
                                        R. David Proctor                     Catherine D. Perry
                                        Karen K. Caldwell                    Nathaniel M. Gorton




        4
                 Plaintiff in one potential tag-along action requested in briefing that the Panel direct
the transferee court to create a separate track for putative class actions. At oral argument, counsel
for this plaintiff stated this determination should be left to the discretion of the transferee judge. See
In re Tylenol (Acetaminophen) Mktg., Sales Practices and Prods. Liab. Litig., 936 F. Supp. 2d 1379,
1380 n.3 (J.P.M.L. 2013). The actions centralized in this order do not include putative class actions,
but several potential tag-along actions are brought on behalf of putative classes.
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IN RE: 3M COMBAT ARMS EARPLUG
PRODUCTS LIABILITY LITIGATION                                             MDL No. 2885


                                    SCHEDULE A


          Central District of California

    KENNEDY v. 3M COMPANY, ET AL., C.A. No. 5:19-00128

          District of Minnesota

    CIACCIO v. 3M COMPANY, ET AL., C.A. No. 0:19-00179
    PEEK v. 3M COMPANY, ET AL., C.A. No. 0:19-00192
    LARKIN v. 3M COMPANY, ET AL., C.A. No. 0:19-00194
    PULLIUM v. 3M COMPANY, ET AL., C.A. No. 0:19-00603

          Western District of Oklahoma

    STINE v. 3M COMPANY, C.A. No. 5:19-00058
    WERNER v. 3M COMPANY, C.A. No. 5:19-00059

          Western District of Texas

    ROWE v. 3M COMPANY, C.A. No. 6:19-00019
